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     CHARLES LA BELLA
 1   Deputy Chiefs
     THOMAS B. W. HALL
 2   ALISON ANDERSON
     Trial Attorneys
 3   Fraud Section, Criminal Division
     U.S. Department of Justice
 4   1400 New York Avenue, NW
     Washington, DC 20530
 5   (202) 616-1682
 6
                         UNITED STATES DISTRICT COURT
 7
                              DISTRICT OF NEVADA
 8                                   -oOo-
 9   UNITED STATES OF AMERICA,                    )
                                                  )
10                                                )
                    Plaintiff,                    )
11                                                )
12                  v.                            )       CASE NO. 2:12-CR-113-JCM-VCF
                                                  )
13                                                )
     ANTHONY WILSON                               )       UNOPPOSED MOTION TO
14                                                )       CONTINUE SENTENCING
                    Defendant.                    )
15                                                )
                                                  )
16

17
            COMES NOW, the United States of America, by and through ANDREW WEISSMANN,
18
     Chief, U.S. Department of Justice, Criminal Division, Fraud Section, and THOMAS B.W.
19
     HALL, Trial Attorney, U.S. Department of Justice, Criminal Division, Fraud Section, and moves
20
     to continue the calendar call as to Anthony Wilson presently set for May 18, 2015, at the hour of
21
     9:00 am.
22
            The parties respectfully request this Honorable Court to continue Wilson’s sentencing
23
     hearing until at least August 15, 2015 to allow time for the defendant to complete his cooperation
24
     in the case of United States v. Markham, Case No. 2:14-cr-00388-JCM-GWF, currently set for
25
     trial on June 29, 2015.
26
            This is the fourth request for a continuance of this Sentencing date.




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 1              Pursuant to General Order No. 2007-04, this Stipulation is entered into for the following
 2   reasons:
 3              1. The defendant has entered a plea agreement with the United States that requires the
 4   defendant to cooperate with the United States in connection with its ongoing investigation of a
 5   fraudulent scheme involving Las Vegas Home Owners Associations. The defendant is
 6   cooperating with the United States in this investigation, which involves a number of co-
 7   conspirators.
 8              2. The defendant’s Plea Agreement affords the defendant potential consideration for
 9   downward departures at the time of sentencing if the defendant has provided substantial
10   assistance to the United States, including the possibility of a United States Sentencing Guideline
11   (U.S.S.G.) § 5K1.1 Motion.
12              3. The United States anticipates at least one future trial related to this matter: United
13   States v. Markham, Case No. 2:14-cr-00388-JCM-GWF, currently set for trial on June 29, 2015.
14
     This trial may allow the defendant the opportunity to provide further cooperation as a witness,
15
     including the possibility of testifying at trial.
16
                4. Counsel for the United States has spoken with counsel for the defendant and counsel
17
     has agreed that the requested continuance is in the best interest of justice, and counsel does not
18
     oppose the continuance sought herein. The defendant is not in custody.
19
                5. Denial of this request for continuance would deny the parties sufficient time and
20
     opportunity to develop the defendant’s cooperation against the related co-conspirators and
21
     targets and prepare related cases for prosecution.
22
                6. Furthermore, denial of this request for continuance could result in a miscarriage of
23
     justice.
24
                7. The United States also requests an order to exclude the additional time requested by
25
     this continuance in computing the time within which the trial herein must commence pursuant to
26
     the Speedy Trial Act, Title 18, United States Code, Section 3161(h)(7)(A), when considering the



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 1   factors under Title 18, United States Code, Section 3161(h)(7)(B)(I) and 3161(h)(7)(B)(iv).
 2

 3          DATED this 20th day of March 2015.
 4                                                       Respectfully submitted,
 5
                                                         ANDREW WEISSMANN
 6                                                       Chief, U.S. Department of Justice
                                                         Fraud Section, Criminal Division
 7
                                                         /s/ Thomas B.W. Hall
 8                                                       THOMAS B.W. HALL
 9                                                       Trial Attorney, U.S. Dept. of Justice
                                                         Criminal Division, Fraud Section
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 1                      UNITED STATES DISTRICT COURT
 2                           DISTRICT OF NEVADA
                                    -oOo-
 3
     UNITED STATES OF AMERICA,                     )
 4                                                 )
                                                   )
 5                 Plaintiff,                      )
                                                   )
 6
                   v.                              )       CASE NO. 2:12-CR-113-JCM-VCF
 7                                                 )
                                                   )
 8   ANTHONY WILSON                                )       PROPOSED ORDER
                                                   )
 9                 Defendant.                      )
                                                   )
10                                                 )

11

12                                        FINDINGS OF FACT

13          Based on the Government’s pending Unopposed Motion to Continue Sentencing, and

14   good cause appearing therefore, the Court hereby finds that:

15          1. The parties are in agreement to continue the Sentencing date as presently scheduled.

16          2. This Court is convinced that an adequate showing has been made that to deny this

17              request for continuance, taking into account the exercise of due diligence, would deny

18              the United States sufficient time to be able to effectively prepare for the co-

19              conspirator and target trials and would bar the defendant from the opportunity to

20              cooperate and potentially receive downward departures at the time of sentencing. This

21              decision is based on the following findings:

22                 a. The defendant agreed in his plea agreements to cooperate against his

23                      coconspirators in any related indictments and trials.

24                 b. The United States agreed to consider downward sentencing concessions for

25                      the defendant’s cooperation, including possible U.S.S.G. 5K1.1 Motions if
26                      substantial assistance resulted from such cooperation.




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 1                  c. The United States anticipates several additional pleas, indictments and trials in
 2                      related cases. Specifically, the defendant may be called to testify United
 3                      States v. Markham, Case No. 2:14-cr-00388-JCM-GWF, currently set for trial
 4                      on June 29, 2015.
 5                  d. The parties need additional time to prepare the defendant’s cooperation
 6                      against other co-conspirators and targets.
 7                  e. The defendant does not object to the continuance.
 8                  f. The defendant is out of custody.
 9          3. For all the above-stated reasons, the ends of justice would best be served by
10              continuing the Sentencing date.
11          4. The additional time requested by this Stipulation is excludable in computing the time
12              within which the trial herein must commence pursuant to the Speedy Trial Act, 18
13              U.S.C. Section 3161(h)(8)(A), considering the factors under 18 U.S.C. Sections
14
                3161(h)(8)(B)(I) and (v).
15

16
                                                  ORDER
17
            IT IS THEREFORE ORDERED that the calendar call currently set for May 18, 2015,
18
     is vacated and is continued. This delay is excluded from the time within which the trial must
19
     commence pursuant to the Speedy Trial Act, Title 18, United States Code, Section
20
     3161(h)(7)(A). It is further ordered that the defendant’s sentencing hearing is set for January
21   August  17, at2015, at 10:00  a.m. in courtroom  6A.
     ____, 2015,    the hour of __________  a.m., in Courtroom # __________.
22

23
                           March
                    DATED this    20,day
                               _____  2015.
                                         of _____________, 2015.
24

25                          _________________________________
                            UNITED STATES DISTRICT JUDGE
26




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 2                        UNITED STATES DISTRICT COURT
 3                             DISTRICT OF NEVADA
 4                                    -oOo-
 5   UNITED STATES OF AMERICA,                      )
                                                    )
 6                                                  )
                     Plaintiff,                     )
 7                                                  )
                     v.                             )        CASE NO. 2:12-CR-113-JCM-VCF
 8                                                  )
                                                    )
 9   ANTHONY WILSON                                 )        CERTIFICATE OF SERVICE
                                                    )
10                   Defendant.                     )
                                                    )
11                                                  )

12

13           I, the undersigned, hereby certify that this pleading was filed with the clerk of court via

14   ECF and will be served electronically via ECF on all parties that have entered their appearances

15   in this case.

16

17           Dated: March 20th, 2015

18
                                                    ANDREW WEISSMANN
19                                                  Chief, U.S. Department of Justice
                                                    Fraud Section, Criminal Division
20

21                                                  /s/ Thomas B.W. Hall
                                                    THOMAS B.W. HALL
22                                                  Trial Attorney, U.S. Dept. of Justice
                                                    Criminal Division, Fraud Section
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